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                 UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TEXAS
                        AUSTIN DIVISION



MWK RECRUITING, INC,

          Plaintiff
                                          Case No. 1:18-cv-00444-RP
         v.

EVAN P. JOWERS, YULIYA
VINOKUROVA, LEGIS
VENTURES (HK) COMPANY
LIMITED, AND ALEJANDRO
VARGAS,

          Defendants



EVAN P. JOWERS,

          Counterclaimant

         v.

MWK RECRUITING, INC.,
ROBERT E. KINNEY,
MICHELLE W. KINNEY,
RECRUITING PARTNERS GP, INC.,
KINNEY RECRUITING LLC,
COUNSEL UNLIMITED LLC, and
KINNEY RECRUITING LIMITED,

          Counterdefendants




            MWK ENTITIES’ ADVISORY REGARDING
        ORDER ON BREAKING MEDIA’S MOTION TO QUASH
          IN THE SOUTHERN DISTRICT OF NEW YORK
         Case 1:18-cv-00444-RP Document 276 Filed 04/14/21 Page 2 of 2




      Pursuant to the Court’s directive, this will serve as notice regarding the status of

the Motion to Quash filed by Breaking Media, Inc., in the Southern District of New York.

Breaking Media v. Evan P. Jowers, 1:21-mc-00194-KPF. Judge Failla granted Breaking

Media’s motion in full on April 9, 2021. A copy of Judge Failla’s order is attached hereto

as Exhibit 1. In view of this determination, MWK believes the matter brought to this

Court’s attention by email sent March 11, 2021, is now moot.

Dated: April 14, 2021                           Respectfully Submitted

                                                /s/ Robert E. Kinney
                                                Robert E. Kinney
                                                Texas State Bar No. 00796888
                                                Robert@KinneyPC.com

                                                Robert E. Kinney
                                                824 West 10th Street, Suite 200
                                                Austin, Texas 78701
                                                Tel: (512) 636-1395

                                                Raymond W. Mort, III
                                                Texas State Bar No. 00791308
                                                raymort@austinlaw.com

                                                THE MORT LAW FIRM, PLLC
                                                100 Congress Ave., Suite 2000
                                                Austin, Texas 78701
                                                Tel/Fax: (512) 865-7950

                                                ATTORNEYS FOR PLAINTIFF

                              Certificate of Conference
The undersigned sent a draft joint advisory to Robert Tauler on Friday, April 9, 2021,
with a request that he revise it as he saw fit and add his signature block. Mr. Tauler did
not respond to messages following up until last night, April 13, 2021, almost at midnight,
when he asserted that “it is premature to file anything on this docket.”

                                                /s/ Robert E. Kinney
                                                Robert E. Kinney




ADVISORY REGARDING ORDER ON MOTION TO QUASH                                       PAGE | 1
